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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

 JORDAN ROSENBLATT, Individually and                 )
 On Behalf of All Others Similarly Situated,         )
                                                     )
                         Plaintiff,                  )   Case No. ______________
                                                     )
         v.                                          )   JURY TRIAL DEMANDED
                                                     )
 AIRCASTLE LIMITED, PETER V.                         )   CLASS ACTION
 UEBERROTH, RONALD W. ALLEN,                         )
 GIOVANNI BISIGNANI, MICHAEL J.                      )
 CAVE, DOUGLAS A. HACKER, JUN                        )
 HORIE, TAKASHI KURIHARA,                            )
 TAKAYUKI SAKAKIDA, RONALD L.                        )
 MERRIMAN, AGNES MURA, CHARLES                       )
 W. POLLARD, and MICHAEL J. INGLESE,                 )
                                                     )
                         Defendants.                 )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on November 6, 2019

(the “Proposed Transaction”), pursuant to which Aircastle Limited (“Aircastle” or the “Company”)

will be acquired by newly-formed entities controlled by affiliates of Marubeni Corporation

(“Marubeni”) and Mizuho Leasing Company, Limited (“Mizuho Leasing”). Marubeni and its

affiliates own approximately 28.8% of the outstanding common shares of the Company.

       2.      On November 5, 2019, Aircastle’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with MM Air Limited (“Parent”) and MM Air Merger Sub Limited (“Merger Sub,”
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and together with Parent, “MM Air”). Pursuant to the terms of the Merger Agreement, Aircastle’s

stockholders will receive $32.00 in cash for each share of Aircastle common stock they own.

       3.      On December 6, 2019, defendants filed a proxy statement (the “Proxy Statement”)

with the United States Securities and Exchange Commission (the “SEC”) in connection with the

Proposed Transaction.

       4.      The Proxy Statement omits material information with respect to the Proposed

Transaction, which renders the Proxy Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Proxy Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Aircastle common stock.




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       9.      Defendant Aircastle is a Bermuda exempted company and a party to the Merger

Agreement. Aircastle’s common stock is traded on the New York Stock Exchange under the ticker

symbol “AYR.”

       10.     Defendant Peter V. Ueberroth (“Ueberroth”) is Chairman of the Board of the

Company. Ueberroth is a member of the transaction committee of the Board (the “Transaction

Committee”).

       11.     Defendant Ronald W. Allen is a director of the Company.

       12.     Defendant Giovanni Bisignani is a director of the Company.

       13.     Defendant Michael J. Cave (“Cave”) is a director of the Company. Cave is a

member of the Transaction Committee.

       14.     Defendant Douglas A. Hacker (“Hacker”) is a director of the Company. Hacker is

a member of the Transaction Committee.

       15.     Defendant Jun Horie (“Horie”) is a director of the Company. Horie was designated

by Marubeni to serve on the Board.

       16.     Defendant Takashi Kurihara (“Kurihara”) is a director of the Company. Kurihara

was designated by Marubeni to serve on the Board.

       17.     Defendant Takayuki Sakakida (“Sakakida”) is a director of the Company. Sakakida

was designated by Marubeni to serve on the Board.

       18.     Defendant Ronald L. Merriman is a director of the Company.

       19.     Defendant Agnes Mura is a director of the Company.

       20.     Defendant Charles W. Pollard (“Pollard”) is a director of the Company. Pollard is

a member of the Transaction Committee.




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        21.     Defendant Michael J. Inglese is Chief Executive Officer and a director of the

Company.

        22.     The defendants identified in paragraphs 10 through 21 are collectively referred to

herein as the “Individual Defendants.”

                                CLASS ACTION ALLEGATIONS

        23.     Plaintiff brings this action as a class action on behalf of himself and the other public

stockholders of Aircastle (the “Class”). Excluded from the Class are defendants herein and any

person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

        24.     This action is properly maintainable as a class action.

        25.     The Class is so numerous that joinder of all members is impracticable. As of

November 4, 2019, there were approximately 74,635,330 shares of Aircastle common stock

outstanding, held by hundreds, if not thousands, of individuals and entities scattered throughout

the country.

        26.     Questions of law and fact are common to the Class, including, among others,

whether defendants will irreparably harm plaintiff and the other members of the Class if

defendants’ conduct complained of herein continues.

        27.     Plaintiff is committed to prosecuting this action and has retained competent counsel

experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

members of the Class and plaintiff has the same interests as the other members of the Class.

Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately

protect the interests of the Class.

        28.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards




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of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the

interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members’ ability to protect their interests.

       29.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

       30.     Aircastle acquires, leases, and sells commercial jet aircraft to airlines throughout

the world.

       31.     As of September 30, 2019, the Company owned and managed on behalf of its joint

ventures 277 aircraft leased to eighty-seven customers located in forty-eight countries.

       32.     On November 5, 2019, Aircastle’s Board caused the Company to enter into the

Merger Agreement.

       33.     Pursuant to the terms of the Merger Agreement, Aircastle’s stockholders will

receive $32.00 in cash for each share of Aircastle common stock they own.

       34.     According to the press release announcing the Proposed Transaction:

       Aircastle Limited (NYSE: AYR) (“Aircastle”) announced today that it has entered
       into a definitive agreement to be acquired by a newly-formed entity controlled by
       affiliates of Marubeni Corporation (“Marubeni”) and Mizuho Leasing Company,
       Limited (“Mizuho Leasing”). Under the terms of the merger agreement, Aircastle
       shareholders will receive $32.00 in cash for each common share of Aircastle (other
       than shares already owned by Marubeni and its affiliates), representing a total
       valuation of approximately $2.4 billion, or approximately $7.4 billion including
       debt obligations to be assumed or refinanced net of cash. . . .

       The cash consideration of $32.00 per share represents a 34% premium over
       Aircastle’s closing stock price on October 23, 2019, the last trading day prior to
       Aircastle’s public announcement that Aircastle was evaluating strategic



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       alternatives, and a 41% premium over the volume weighted average share price
       during the 20 trading days ended October 23, 2019.

       The transaction is subject to customary closing conditions, including approval by
       Aircastle’s shareholders and receipt of certain regulatory approvals, and is expected
       to close in the first half of 2020. Marubeni has agreed to vote the common shares
       of Aircastle that Marubeni and its affiliates beneficially own in favor of the
       transaction. . . .

       Citigroup Global Markets Inc. is acting as the exclusive financial advisor to
       Aircastle and Skadden, Arps, Slate, Meagher & Flom LLP and Conyers LLP are
       acting as Aircastle’s legal advisors.

       35.     Marubeni and its affiliates own approximately 28.8% of the outstanding common

shares of the Company and have agreed to vote their shares in favor of the Proposed Transaction.

The Proxy Statement Omits Material Information, Rendering It False and Misleading

       36.     Defendants filed the Proxy Statement with the SEC in connection with the Proposed

Transaction.

       37.     As set forth below, the Proxy Statement omits material information with respect to

the Proposed Transaction, which renders the Proxy Statement false and misleading.

       38.     First, the Proxy Statement omits material information regarding the analyses

performed by the Company’s financial advisor in connection with the Proposed Transaction,

Citigroup Global Markets Inc. (“Citi”).

       39.     The Proxy Statement fails to disclose Citi’s presentations: (i) provided to the Board

at its October 4, 2019 meeting; (ii) provided to the Transaction Committee at its October 16, 2019

meeting; (iii) provided to the Transaction Committee at its October 27, 2019 meeting; and (iv)

provided to the Board at its November 4, 2019 meeting.

       40.     With respect to Citi’s Discounted Cash Flow Analysis contained in its November

5, 2019 presentation to the Board, the Proxy Statement fails to disclose: (i) Citi’s basis for

assuming that Aircastle’s gross debt to equity would be equal 2.5x; (ii) Citi’s basis for applying a



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range of price to book value exit multiples of 0.8x to 1.0x; and (iii) the individual inputs and

assumptions underlying the discount rates ranging from 8.1% to 9.4%.

       41.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

       42.     Second, the Proxy Statement omits material information regarding the process

leading up to the execution of the Merger Agreement.

       43.     The Proxy Statement fails to disclose how and on what basis the members of the

Transaction Committee were selected.

       44.     The Proxy Statement fails to disclose Citi’s basis for informing “representatives of

Party C that a potential partial asset sale transaction would likely not maximize value for the

Company’s shareholders compared to a whole company transaction.”

       45.     The Proxy Statement fails to disclose the nature of the Transaction Committee’s

discussion with Citi on October 16, 2019 regarding “the Company’s standalone business prospects

in the absence of a strategic transaction.”

       46.     The Proxy Statement fails to disclose the nature of the “further discussions” with

the seven financial sponsors that contacted the Company and Citi regarding a strategic transaction

between October 24 and October 31, 2019, including who participated in the discussions.

       47.     The Proxy Statement also fails to disclose how discussions concluded between the

Company and Party B regarding a potential transaction.

       48.     The Company’s stockholders are entitled to an accurate description of the process

leading up to the Proposed Transaction.




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       49.     The omission of the above-referenced material information renders the Proxy

Statement false and misleading, including, inter alia, the following sections of the Proxy

Statement: (i) Background of the Merger; (ii) Purpose and Reasons of the Company for the Merger;

Position of the Company as to Fairness of the Merger; Recommendation of the Board of Directors;

and (iii) Opinion of Citigroup Global Markets Inc.

       50.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                             COUNT I

     Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
              Thereunder Against the Individual Defendants and Aircastle

       51.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       52.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule 14a-9, in

light of the circumstances under which they were made, omitted to state material facts necessary

to make the statements therein not materially false or misleading. Aircastle is liable as the issuer

of these statements.

       53.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       54.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       55.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate



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disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       56.     The Proxy Statement is an essential link in causing plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       57.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       58.     Because of the false and misleading statements in the Proxy Statement, plaintiff

and the Class are threatened with irreparable harm.

                                            COUNT II

                        Claim for Violation of Section 20(a) of the 1934 Act
                                Against the Individual Defendants

       59.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       60.     The Individual Defendants acted as controlling persons of Aircastle within the

meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions as officers

and/or directors of Aircastle and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the false statements contained in the Proxy Statement, they had the

power to influence and control and did influence and control, directly or indirectly, the decision

making of the Company, including the content and dissemination of the various statements that

plaintiff contends are false and misleading.

       61.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.




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        62.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

        63.    By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

1934 Act.

        64.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the 1934 Act and

Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a direct and

proximate result of defendants’ conduct, plaintiff and the Class are threatened with irreparable

harm.

                                     PRAYER FOR RELIEF

        WHEREFORE, plaintiff prays for judgment and relief as follows:

        A.     Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

        B.     In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

        C.     Directing the Individual Defendants to disseminate a Proxy Statement that does not

contain any untrue statements of material fact and that states all material facts required in it or

necessary to make the statements contained therein not misleading;




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       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.

 Dated: December 18, 2019                            RIGRODSKY & LONG, P.A.

                                                By: /s/ Gina M. Serra
                                                    Brian D. Long (#4347)
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